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                IN THE UNITED STATES DISTRICT COURT
                 FOR THE DISTRICT OF MASSACHUSETTS

UNITED STATES of AMERICA,

    v.                                 Case No. 1:17-cr-10269-WGY

REGINALD ABRAHAM,
          Defendant.


                        DEFENDANT'S PROPOSED
                   SUPPLEMENTAL JURY INSTRUCTIONS


    Defendant, Reginald Abraham, by his counsel, Kevin L.

Barron, Esq., and Zachary Lown, Esq., request and respectfully

offer for the Honorable Court's consideration, under F.R.Crim.P.

Rule 30, the attached supplemental proposed jury instructions on

the law of "true threat" and the inferences a jury may drawn

from a missing witness.

Dated:    July 22, 2019          Respectfully submitted,
                                 Reginald Abraham, Defendant,
                                 By his Counsel,
                                 s/Kevin L. Barron
                                 Kevin L. Barron, Esq.
                                 50 State St. - Ste. 600
                                 Boston, MA 02109-4075
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                       CERTIFICATE OF SERVICE

Counsel certifies that he has caused a true copy of this motion
to be served today on counsel to all the parties through the
CM/ECF of this District as set forth in the notice of electronic
filing and that no party requires service by other means.

                                 s/Kevin L. Barron
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             Supplemental Proposed Instruction No. 1

                              TRUE THREAT

     A statement is a true threat when a defendant intentionally

makes a statement in a context or under such circumstances where

a reasonable person would foresee that the statement would be

interpreted by those to whom the maker communicates the

statement as a serious expression of an intention to inflict

bodily injury on an individual.        Furthermore, you must be

persuaded beyond a reasonable doubt that the defendant intended

the person receiving the alleged threat to understand the

communication to be a threat to do bodily harm to the person

receiving the threat or to another individual. See, Elonis v.

United States, 575 US __, No. 13–983, slip op. p. 7 (June 1,

2015) (whether conviction of threatening another person over

interstate lines under 18 USC § 875(c)[ requires proof of

subjective intent to threaten, or whether it is enough to show

that a “reasonable person” would regard the statement as

threatening).



                           Counsel's Notes

     The Supreme Court's 2015 decision in Ellonis indicates that

this Court should instruct the jury on the defendant's required

subjective mental state in making any alleged threat.          In


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Elonis, the Supreme Court reversed the conviction of a defendant

for making "communication[s] containing any threat . . . to

injure the person of another.” in violation of 18 USC §875(c)1.

Elonis v. United States, 575 US __, No. 13–983, slip op. p. 7

(June 1, 2015) .      Defendant had made a series of face book

social media postings in the form of purported "rap" lyrics

threatening, inter alia, to murder his ex-wife, commit school

shootings, slit the throat of an interviewing female FBI agent.

Elonis, slip. op. 4-6.      Defendant was charged under 18 USC

§875(c) and moved to dismiss on the grounds that the charged

conduct did not constitute a true threat.          Id., p. 6.     The

District Court denied the motion, holding that Third Circuit

precedent required only that defendant "intentionally made the

communication, not that he intended to make a threat." Id.              The

trial court charged the jury on the meaning of a true threat as

set forth in quotation marks in the first paragraph above:

     A statement is a true threat when a defendant
     intentionally makes a statement in a context or under
     such circumstances wherein a reasonable person would
     foresee that the statement would be interpreted by
     those to whom the maker communicates the statement as
     a serious expression of an intention to inflict bodily
     injury or take the life of an individual.

Id. at 7.


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  18 USC §875(c): Whoever transmits in interstate or foreign commerce any
communication containing any threat to kidnap any person or any threat to
injure the person of another, shall be fined under this title or imprisoned
not more than five years, or both.




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    The Supreme Court held that such instruction was error,

reasoning that where federal criminal statutes are silent on the

required mental state, a court must "read into the statute only

that mens rea which is necessary to separate wrongful conduct

from otherwise innocent conduct." Id. at 12.        [internal quotes

and citations omitted]    Elonis reasons further that:

    The parties agree that a defendant under Section
    875(c) must know that he is transmitting a
    communication. But communicating something is not
    what makes the conduct "wrongful." Here "the crucial
    element separating legal innocence from wrongful
    conduct" is the threatening nature of the
    communication. [citation omitted] The mental state
    requirement must therefore apply to the fact that the
    communication contains a threat.

Id. at 13.

    The Supreme Court's ruling in Watts further supports

defendants' request for an instruction on true threat because

such an instruction is required in the First Amendment context.

Watts was a criminal case where the defendant was convicted for

threatening to shoot then president Johnson during defendant's

1966 speech on the Washington Monument.       See, Watts v. United

States, 394 U.S. 705 (1969)(per curiam)(discusses labor context,

infra).   In the course of an impromptu speech against his

conscription, Watts said that if he were made to carry a rifle

"the first man I want to get in my sights is L.B.J."         Id.   Watts

was subsequently convicted of violating 18 USC §871(a) for

"knowingly and willfully . . . making any threat to take the


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life of or to inflict bodily harm upon the President of the

United States. . . ."     Id.

      Finding the statute to be valid on its face, the Supreme

Court nonetheless held that the government had not proven that

defendant had been willful in making a "true threat" because the

Court could "not believe that the kind of political hyperbole

indulged in by petitioner fits within that statutory term".             Id.

at 708.   The High Court reasoned that, when reviewing a

conviction based on speech,

      we must interpret the language Congress chose "against
      the background of a profound national commitment to
      the principle that debate on public issues should be
      uninhibited, robust, and wide-open, and that it may
      well include vehement, caustic, and sometimes
      unpleasantly sharp attacks on government and public
      officials." New York Times Co. v. Sullivan, 376 U. S.
      254, 376 U. S. 270 (1964). The language of the
      political arena, like the language used in labor
      disputes, see Linn v. United Plant Guard Workers of
      America, 383 U. S. 53, 383 U. S. 58 (1966)[involving a
      defamation suit], is often vituperative, abusive, and
      inexact.


Id.




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          Defendant's Supplemental Proposed Instruction No. 2,

                           Missing Witness


    If it is peculiarly within the power of the government to

produce a witness who could give material testimony, or if the

witness would be favorably disposed to the government, failure

to call that witness may justify an inference that her testimony

would be unfavorable to the government.       No such inference is

justified if the witness is equally available or favorably

disposed to both parties or if the testimony would merely repeat

other evidence.



    Source: First Circuit Pattern Criminal Jury Instructions,

"2.12 Missing Witness".



                              Notes of Counsel

    The government has repeatedly elicited testimony from the

complaining witnesses that defendant beat and abused Kayla

Bausha.   Ms. Bausha gave statements to agents that defendant,

inter alia, beat and abused her and that she was afraid of him.

Ms. Bausha has given repeated statements to agents that are

unfavorable to defendant.




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    The defense is entitled to the missing witness instruction

on a showing that the uncalled witness is "favorably disposed"

to testify on behalf of the government -- meaning that the

government ordinarily would be expected to produce that witness

-- or that the witness is "peculiarly available" to the

government). United States v. Perez, 299 F.3d 1, 3 (1st Cir.

2002) and United States v. Anderson, 452 F.3d 66 (1st Cir. 2006).

    In her October 18, 2017 grand jury testimony, Ms. Bausha

denied that she has ever worked for defendant as a prostitute:

         Q In the time that you lived with Ricky you never
    knew him to prostitute women?

         A No, I knew him to be a little bit of a --
    excuse my language -- but, I mean, he was a man whore,
    and he -- yeah, he did a lot of bachelor parties and
    stuff. As far as prostitution goes with other people,
    I don't really know. I didn't -- I didn't really care
    too much about any of that stuff that was going on. I
    don't know if it was happening. I was doing it by
    myself to support my drug habit that I had. [emphasis
    added]

          Q So Ricky never posted an ad for you?

         A He didn't post an ad for me, no. I posted my
    own ads.


October 18, 2017 grand jury testimony, pp. 12 - 13.         The

government asked Bausha whether defendant had ever been violent

with her and she responded:

    A It was usually over drugs, or girls, one or the
    other. If I found out he slept with somebody, I would
    get pissed off about it and I'd hit him and then he'd



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    slap me back, or, you know, that type of thing. It
    happened like three times.


October 18, 2017 grand jury testimony, p. 15.

          The government impeached Bausha with her prior

statements to agents, and Bausha responded as follows:

    A When I met with them, I was in jail, I was detoxing,
    and I wanted to get out, and I was under the
    impression, you know, basically, it kind of made it
    seem like if I say things, I would be to get out, and,
    I mean, they said as soon as the next day, which
    didn't happen, but, uhm . . . so I fabricated a lot of
    stuff.

October 18, 2017 grand jury testimony, p. 17.

    The government impeached Bausha with a later-in-time

statement inculpating defendant, and Bausha responded:

    A I was kind of living with my mom, but I had just
    gotten back from a program in Ohio, and that's when I
    relapsed, so I was a little all over the place at that
    time.

    Q Do you recall telling them, again, in the April
    visit that Abraham had been your pimp?

    A No, I don't. I don't recall much of the April
    visit, besides the fact that I got an ice cream after.

October 18, 2017 grand jury testimony, p. 18.

    The defendant's investigator contacted Ms. Bausha in early

May and spoke to her, but Ms. Bausha refused to testify

voluntarily for the defense.     Her statements to the investigator

are essentially the same as those to the grand jury and to

agents.    Counsel directed the investigator to cease contacting

Ms. Bausha after the government's statements on record at a May


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20 scheduling conference.     The government's statements suggested

potential witnesses were intimidated by the investigator's use

of the defendant's face book account and other attempts to

contact them.

    On July 20, 2019, counsel called the number the private

investigator used to speak to Ms. Bausha in May.        Counsel left a

voice message that was not returned.        The defense has not

subpoenaed Ms. Bausha and Ms. Bausha did not confirm her address.

    Ms. Bausha is peculiarly available to the government.              The

government is not calling her to hide her allegations that

agents handled her deceptively.        The government also wishes to

avoid introducing her grand jury statements that Mr. Abraham did

not assault her.    Whether to issue this instruction rests within

the Court's sound discretion.     Perez, id. and United States v.

DeLuca, 137 F.3d 24, 38 (1st Cir. 1998), United States v. Lewis,

40 F.3d 1325, 1336 (1st Cir. 1994) and United States v. Welch,

15 F.3d 1202, 1214 (1st Cir. 1993).

    The circumstances described make a sufficient showing to

generate a missing witness instruction.       The proponent of such

an instruction must demonstrate that the witness would have been

either favorably disposed to testify on behalf of the government

by virtue of status or relationship or peculiarly available to

the government.    The court must then consider the explanation

(if any) for the witness's absence and whether the witness, if


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called, would be likely to provide relevant, non-cumulative

testimony. Perez, supra.

Dated:   July 22, 2019

                                 s/Kevin L. Barron
                                 Kevin L. Barron, Esq.




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